        Case 1:15-cv-02739-LAP Document 440 Filed 04/14/23 Page 1 of 25




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------- x
                                     :
PETERSEN ENERGÍA INVERSORA,          :
S.A.U. and PETERSEN ENERGÍA, S.A.U., :
                                     :     Case No.: 1:15-CV-02739 (LAP)
                  Plaintiffs,        :
                                     :
                                     :
                  v.                 :
                                     :
ARGENTINE REPUBLIC and YPF S.A., :
                                     :
                  Defendants.        :
------------------------------- x


------------------------------- x
ETON PARK CAPITAL MANAGEMENT, :
L.P., ETON PARK MASTER FUND, LTD., :
and ETON PARK FUND, L.P.,          :       Case No.: 1:16-CV-08569 (LAP)
                                   :
                                   :
                 Plaintiffs,       :
                                   :
                 v.                :
                                   :
ARGENTINE REPUBLIC and YPF S.A., :
                                   :
                 Defendants.       :
------------------------------- x



                 ARGENTINA’S MEMORANDUM OF LAW IN SUPPORT
                     OF ITS MOTION FOR RECONSIDERATION




April 14, 2023
           Case 1:15-cv-02739-LAP Document 440 Filed 04/14/23 Page 2 of 25



                                                 TABLE OF CONTENTS
                                                                                                                                 Page

PRELIMINARY STATEMENT ..................................................................................................1

I.        THE COURT SHOULD RECONSIDER ITS GRANT OF SUMMARY
          JUDGMENT ON LIABILITY AND HEAR LIVE EXPERT TESTIMONY AT
          TRIAL ON ALL DISPUTED ISSUES OF ARGENTINE LAW ..................................6

          A.         The Court Has the Power to, and Should, Hear from the Argentine Law
                     Experts at Trial on All Disputed Issues of Argentine Law ......................................6

          B.         Hearing from the Argentine Law Experts at Trial Is Required Because the
                     Parties’ Experts Have Diametrically Opposed Views on Fundamental
                     Questions of Argentine Law ..................................................................................10

II.       AT A MINIMUM, THE COURT SHOULD RECONSIDER ITS ORDER WITH
          RESPECT   TO   TWO   DETERMINATIONS                         CONCERNING                        THE
          CALCULATION OF DAMAGES..................................................................................15

          A.         The Republic Did Not “Admit” that the Occupation Took Place Prior to the
                     Effective Date of the YPF Expropriation Law ......................................................15

          B.         The Court’s Determination that the “Commercial Rate” Applies to
                     Prejudgment Interest Misconstrues Argentine Court Jurisdiction .........................18

CONCLUSION ............................................................................................................................20




                                                                  -i-
            Case 1:15-cv-02739-LAP Document 440 Filed 04/14/23 Page 3 of 25




                                               TABLE OF AUTHORITIES
                                                                                                                              Page(s)

                                                                CASES

Animal Science Products, Inc. v. Heibei Welcome Pharmaceutical Co. Ltd.,
   138 S. Ct. 1865 (2018) .....................................................................................................3, 8, 19

Aristocrat Leisure Ltd. v. Deutsche Bank Tr. Co. Americas,
    262 F.R.D. 293 (S.D.N.Y. 2009) ...............................................................................................8

Belfrade v. Interenergo, Inc.,
    1998 WL 661481 (S.D.N.Y. Sept. 24, 1998).............................................................................7

Buchwald v. Renco Grp., Inc.,
   2014 WL 4207113 (S.D.N.Y. Aug. 25, 2014) ...........................................................................9

Bugliotti v. Republic of Argentina,
   952 F.3d 410 (2d Cir. 2020).......................................................................................................6

Castillo v. Cessna Aircraft Co,
   2010 WL 11505745 (S.D. Fla. July 22, 2010) ...........................................................................7

Cattan v. Ermotti,
   2021 WL 6200975 (N.Y. Sup. Ct. Dec. 30, 2021) ....................................................................2

City of Wilmington v. United States,
    157 Fed. Cl. 705 (2022) ...........................................................................................................19

Federal Republic of Germany v. Elicofon,
   358 F. Supp. 747 (E.D.N.Y. 1970) ............................................................................................7

Galu v. Swissair: Swiss Air Transp. Co.,
   734 F. Supp. 129 (S.D.N.Y.) (1990) ......................................................................................3, 7

H. Daya Int’l, Co. v. Do Denim LLC,
   2022 WL 974382 (S.D.N.Y. Mar. 31, 2022) ...........................................................................17

Karaha Bodas Co. v. Perusahaan Pertambangan
   Minyak Dan Gas Bumi Negara (“Pertamina”),
   313 F.3d 70 (2d Cir. 2002).........................................................................................................8

Kolel Beth Yechiel Mechil of Tartikov, Inc. v. YLL Irrevocable Tr.,
   729 F.3d 99 (2d Cir. 2013)...............................................................................................3, 6, 16

Library of Congress v. Shaw,
   478 U.S. 310 (1986) .................................................................................................................19


                                                                  -ii-
           Case 1:15-cv-02739-LAP Document 440 Filed 04/14/23 Page 4 of 25




MBI Grp. Inc. v. Credit Foncier du Cameroun,
  558 F. Supp. 2d 21 (D.D.C. 2008) .............................................................................................2

In re Motors Liquidation Company,
    957 F.3d 357 (2d Cir. 2020).................................................................................................4, 17

Napier v. Bossard,
   102 F.2d 467 (2d Cir. 1939).......................................................................................................9

Nat’l Grp. for Commc’n and Computers, Ltd. v. Lucent Tech. Intern. Inc.,
   331 F. Supp. 2d 290 (D. N.J. 2004) ...........................................................................................6

In re Oil Spill by the Amoco Cadiz,
    954 F.2d 1279 (7th Cir. 1992) ...................................................................................................3

Petersen Energia Inversora S.A.U. v. Argentine Republic,
   2020 WL 3034824 (S.D.N.Y. June 5, 2020) .............................................................................1

Philadelphia Gear Corp. v. Philadelphia Gear de Mexico, S.A.,
   44 F.3d 187 (3d Cir. 1994).........................................................................................................7

Quantum Tech. Partners II, L.P. v. Altman Browning & Co,
   2009 WL 4826474 (D. Or. Dec. 8, 2009) ................................................................................11

Republic of Ecuador v. ChevronTexaco Corp.,
   499 F. Supp. 2d 453 (S.D.N.Y. 2007)....................................................................................3, 7

Rosenfeld v. Deutsche Bank,
   No. 651578-2020 (N.Y. Sup. Ct. Mar. 20, 2023) ......................................................................2

Sarl Louis Feraud Int’l v. Viewfinder, Inc.,
   489 F.3d 474 (2d Cir. 2007).....................................................................................................19

Schwartz v. Liberty Mut. Ins. Co.,
   539 F.3d 135 (2d Cir. 2008).....................................................................................................19

Stewart v. Adidas A.G.,
   1997 WL 218431 (S.D.N.Y. Apr. 30, 1997)..............................................................................1

Twohy v. First National Bank of Chicago,
   758 F.2d 1185 (7th Cir. 1985) ...............................................................................................4, 8

U.S. Fid. & Guar. Co. v. Petroleo Brasileiro S.A.-Petrobras,
   2001 WL 300735 (S.D.N.Y. Mar. 27, 2001) .....................................................................3, 6, 7

United States v. McNab,
   331 F.3d 1228 (11th Cir. 2003) .................................................................................................8



                                                                -iii-
            Case 1:15-cv-02739-LAP Document 440 Filed 04/14/23 Page 5 of 25




                                                                STATUTES

28 U.S.C. § 1331 ............................................................................................................................18

28 U.S.C. § 2516(a) .......................................................................................................................18

                                                       OTHER AUTHORITIES

Federal Rule of Civil Procedure 44.1 ..........................................................................................3, 6

Alison Frankel, This Billion-Dollar Case Against Argentina’s YPF Wouldn’t Exist
    Without Litigation Funding. Is That a Good Thing? Reuters (Apr. 3, 2023) ............................1

Burford Capital, Burford Capital Statement On YPF Summary Judgment Ruling
   (Apr. 2, 2023) .............................................................................................................................1




                                                                     -iv-
        Case 1:15-cv-02739-LAP Document 440 Filed 04/14/23 Page 6 of 25




                               PRELIMINARY STATEMENT

       The Court’s March 31, 2023 summary judgment ruling held the Argentine Republic liable

for what may become the largest judgment ever secured in this District. Petersen ECF No. 437;

Eton Park ECF No. 366 (the “Order”). According to public statements by Plaintiffs’ litigation

“funder,” Burford Capital, the Court’s summary judgment ruling implies damages between $5 and

$8.4 billion, with prejudgment interest almost doubling those amounts.1 Moreover, this Court’s

summary judgment decision was based almost entirely on its interpretations of a foreign country’s

law, and those interpretations were unprecedented. For example, there is not a single case in

Argentine history where a shareholder has brought a damages suit against another shareholder for

breach of a corporate bylaws provision.

       Respectfully, the Republic submits that the Court should reconsider its decision to grant

summary judgment to Plaintiffs to the extent that decision rested on complex questions of

Argentine law, pending hearing from the parties’ experts live during the upcoming damages trial.

In denying the Republic’s motion for dismissal on the basis of forum non conveniens, the Court

did not anticipate “that any complicated questions of Argentine law [would] actually arise,”

Petersen Energía Inversora S.A.U. v. Argentine Republic, 2020 WL 3034824, at *13 (S.D.N.Y.

June 5, 2020). But that turned out not to be the case.2 The parties’ motions for summary judgment


1
        Burford Capital, Burford Capital Statement On YPF Summary Judgment Ruling 3-4 (Apr.
2, 2023), https://www.burfordcapital.com/media/3474/20230402-burford-capital-statement-on-
ypf-summary-judgment-ruling.pdf (“Burford Press Release). Burford purchased Petersen’s claim
for €15 million in 2015 and later purchased Eton Park’s claim. (Arg. Opening Br. at 1, 13.) Its
stock price rose 55% on the date of this Court’s decision. Alison Frankel, This Billion-Dollar Case
Against Argentina’s YPF Wouldn’t Exist Without Litigation Funding. Is That a Good Thing?
Reuters (Apr. 3, 2023), http://www.reuters.com/legal/litigation/column-this-billion-dollar-
case-against-argentinas-ypf-wouldnt-exist-without-2023-04-03.
2
       For this reason and others, the Republic continues to submit that this case does not belong
in a U.S. court. See Stewart v. Adidas A.G., 1997 WL 218431, at *7 (S.D.N.Y. Apr. 30, 1997)
        Case 1:15-cv-02739-LAP Document 440 Filed 04/14/23 Page 7 of 25




required the Court to decide numerous complex questions of Argentine law, on which the parties’

experts have offered diametrically opposed positions. In its decision, the Court decided the

following disputed—and fundamental—questions of Argentine law:

          Whether a shareholder can bring a breach of contract action against another
           shareholder for breach of a corporate bylaws provision at all;

          Which body of Argentine law (the General Corporations Law or the Civil Code)
           would govern Plaintiffs’ claim for an alleged violation of corporate bylaws;

          Whether the existence of a specific, non-damages penalty for breach of the bylaws
           precludes damages claims;

          Whether Argentina’s civil law system requires a party to request specific performance
           before requesting damages in a breach of contract action; and

          Whether the Constitutional and statutory expropriation law of the Argentine Republic
           forecloses Plaintiffs’ claims.




(granting forum non conveniens motion because “the parties’ German law experts cannot even
agree whether plaintiff’s designs are copyrightable under German law”) (Cote, J.); MBI Grp. Inc.
v. Credit Foncier du Cameroun, 558 F. Supp. 2d 21, 35 (D.D.C. 2008) (court’s “lack of familiarity
with Cameroonian law, and other issues involved with the application of foreign law, weighs
heavily in favor of dismissal”).

        In fact, this case is similar to recent cases in which New York courts have dismissed various
“corporate disputes,” including derivative actions, on the ground that they belong in the foreign
home forum of the corporation in question. Rosenfeld v. Deutsche Bank, No. 651578-2020 (N.Y.
Sup. Ct. Mar. 20, 2023), Dkt. No. 236 at 54 (“Germany has that compelling interest in interpreting
its own [law] as need not be burdened by . . . New York judges making assessment of German
law, and seeking to bind German corporations.”); Cattan v. Ermotti, 2021 WL 6200975, at *1
(N.Y. Sup. Ct. Dec. 30, 2021) (“After all, it is logical for a Swiss company, like many Delaware
companies, to mandate that its internal-affairs disputes be adjudicated by a court with expertise in
its corporate law.”).


                                                -2-
        Case 1:15-cv-02739-LAP Document 440 Filed 04/14/23 Page 8 of 25




        Through the opinions and reports of prominent Argentine experts in public and private

law, the Republic set forth its considered position on these important questions of Argentine law.

The Court, however, held that the Republic was incorrect as a matter of law on each and every one

of these questions, ruling against the Republic on basic tenets of its legal system without holding

oral argument or a hearing and notwithstanding the “substantial . . . weight” that is owed to a

sovereign’s “view of its own law.”         Animal Science Products, Inc. v. Heibei Welcome

Pharmaceutical Co. Ltd., 138 S. Ct. 1865, 1875 (2018); see also In re Oil Spill by the Amoco

Cadiz, 954 F.2d 1279, 1312 (7th Cir. 1992) (“A court of the United States owes substantial

deference to the construction France places upon its domestic law.”).

       Respectfully, the Republic believes that the Court’s reconsideration of those interpretations

of Argentine law pending further live testimony from the experts is necessary to redress “a clear

error or prevent manifest injustice.” Kolel Beth Yechiel Mechil of Tartikov, Inc. v. YLL Irrevocable

Tr., 729 F.3d 99, 104 (2d Cir. 2013) (citation omitted). Because some or all of both parties’ foreign

law experts will already be required for the upcoming trial on damages, the Court should hear live

testimony from the experts on all disputed Argentine law issues, including those bearing on

liability. Hearing this testimony will allow the Court to question the experts, to evaluate their

responses to cross-examination, and to reach a more considered evaluation of Argentine law than

was possible from reviewing written reports.

       Under Federal Rule of Civil Procedure 44.1 the Court can hear live testimony on these

foreign law questions. Where courts find a “sharp conflict in the affidavits by [foreign] law

experts” on complex issues of foreign law, they often “hold a hearing to determine [the foreign]

law to be applied.” U.S. Fid. & Guar. Co. v. Petroleo Brasileiro S.A.-Petrobras, 2001 WL 300735,

at *22 (S.D.N.Y. Mar. 27, 2001) (Koetl, J.) (requiring a hearing on disputed issues of foreign law);



                                                 -3-
        Case 1:15-cv-02739-LAP Document 440 Filed 04/14/23 Page 9 of 25




Galu v. Swissair: Swiss Air Transp. Co., 734 F. Supp. 129, 131-32 (S.D.N.Y.) (1990) (Patterson,

J.), aff’d 923 F.2d 842 (2d Cir. 1990) (same); Republic of Ecuador v. ChevronTexaco Corp., 499

F. Supp. 2d 452, 453-54 (S.D.N.Y. 2007) (Sand, J.) (same); see also Twohy v. First National Bank

of Chicago, 758 F.2d 1185, 1193 (7th Cir. 1985) (it “would have been appropriate” for district

court to require “complete presentation” of foreign law questions beyond mere submission of

expert affidavits) (citing Advisory Committee Note to Rule 44.1).

       Given the disputes between the parties’ experts on fundamental questions of Argentine law,

such as whether Argentine law allows Plaintiffs to bring this case at all, and the importance of

resolving those issues in this case where Plaintiffs seek a multi-billion dollar judgment, the Court

should hear live testimony from the parties’ foreign law experts.

                                             *         *    *

       At a minimum, the Court should reconsider two aspects of its decision on the motions for

summary judgment that ran contrary to the record and controlling law and bear directly on its

calculation of damages.

       First, the Court incorrectly found that the Republic “admitted” in its Answer that it

“occupied” 51% of Repsol’s shares of YPF at least by the time the YPF Expropriation Law (“Law

No. 26,741”) took effect on May 7, 2012. (Order at 57.) Whether occupation of the shares is

equivalent to control of those shares and the date when the Republic acquired control of the shares

bear directly on the Court’s assessment of damages. (Order at 56-58.) Plaintiffs’ litigation

“funder” acknowledges that when the Republic acquired control of the YPF shares could make

more than a $3 billion dollar difference in damages. (Burford Press Release, supra, at 3-4.) The

Republic has never “admitted” it temporarily occupied any shares prior to May 7, 2012. Instead,

the Republic “admitted” in its Answer only that it occupied shares after the YPF Expropriation



                                                 -4-
        Case 1:15-cv-02739-LAP Document 440 Filed 04/14/23 Page 10 of 25




Law took effect on May 7, 2012. At best, the Republic’s statement can be read as ambiguous on

this point. See In re Motors Liquidation Company, 957 F.3d 357, 360-61 (2d Cir. 2020) (holding

that a factually incorrect statement in defendant’s Answer and Notice of Removal “was not an

intentional, clear, and unambiguous statement of fact” and “did not constitute a judicial

admission”).

       Second, the Court, while reserving judgment on the precise prejudgment interest rate it

would apply to any damages award, incorrectly found that the “commercial rate applied by

Argentine courts is the appropriate measure as this case involves purely commercial obligations.”

(Order at 63.) That holding disregards that the proper court (and any corresponding prejudgment

interest rate) in Argentina, as in the United States, is determined by the identity of the parties and

the nature of the questions presented. Because this case presents a claim against the Republic and

presents issues of Argentine public law, it could be brought only before the Argentine federal

courts on administrative affairs, which apply the average borrowing rate published by the Central

Bank. (Arg. Opp. Br. (citing Santiago Rebuttal ¶¶ 66-69; Manóvil Rebuttal ¶ 165; Uslenghi

Rebuttal ¶¶ 58-60).) In fact, the Argentine Supreme Court has already weighed in on this

jurisdictional question in a case involving different YPF shareholders that sued the Republic in

Argentina for specific performance of the tender offer obligation under the YPF Bylaws.

(Uslenghi Rebuttal ¶ 59; Santiago Rebuttal ¶ 67; Manóvil Rebuttal ¶ 162 (discussing Supreme

Court of the Argentine Republic, Aug. 20, 2014, De San Martín, José and other v. Estado

Nacional-PEN S/Proceso de Conocimiento, S.C. Comp. 731 L. XLIX).)




                                                 -5-
        Case 1:15-cv-02739-LAP Document 440 Filed 04/14/23 Page 11 of 25




                                           ARGUMENT

I.     THE COURT SHOULD RECONSIDER ITS GRANT OF SUMMARY JUDGMENT
       ON LIABILITY AND HEAR LIVE EXPERT TESTIMONY AT TRIAL ON ALL
       DISPUTED ISSUES OF ARGENTINE LAW.

             A.      The Court Has the Power to, and Should, Hear from the Argentine Law
                     Experts at Trial on All Disputed Issues of Argentine Law.

       In granting Plaintiffs’ motion for summary judgment on liability, the Court was required

to decide numerous core (and contested) questions of Argentine law in a case involving a foreign

sovereign. The parties offered diametrically opposed positions on these questions. The Republic

respectfully requests that the Court reconsider its determination of these issues against a foreign

sovereign and without live testimony from the parties’ Argentine law experts, which amounts to

“manifest injustice” subject to reconsideration. Kolel Beth Yechiel Mechil of Tartikov, Inc., 729

F.3d at 104 (citation omitted). The Court then can decide whether to issue new rulings on

Argentine law with the benefit of trial testimony from both sides’ experts (who will be there

anyway) on all such questions. Given the financial stakes here, we urge the Court to follow this

prudent course.

       Under Federal Rule of Civil Procedure 44.1, the “procedures for determining [foreign] law

are within the court’s discretion.” Petroleo Brasileiro S.A.-Petrobras, 2001 WL 300735, at *22.

In particular, “Rule 44.1 preserves a district court’s freedom to employ fact‐like procedures,

including by taking written and oral testimony, as sometimes may be required to adjudicate foreign

legal questions.” Bugliotti v. Republic of Argentina, 952 F.3d 410, 413 (2d Cir. 2020). District

courts can therefore “tailor fact-like methods of inquiry to the needs of the case,” id., including by

conducting evidentiary hearings to determine questions of foreign law, Nat’l Grp. for Commc’n

and Computers, Ltd. v. Lucent Tech. Intern. Inc., 331 F. Supp. 2d 290, 292 (D.N.J. 2004) (court

conducted a hearing “wherein expert testimony was heard from both parties regarding the


                                                 -6-
        Case 1:15-cv-02739-LAP Document 440 Filed 04/14/23 Page 12 of 25




application of Saudi Arabian law to the circumstances in this case”); see also Philadelphia Gear

Corp. v. Philadelphia Gear de Mexico, S.A., 44 F.3d 187, 193 (3d Cir. 1994) (it “may be necessary

for the court to conduct an evidentiary hearing with expert testimony to ascertain foreign law” if

that law is “in dispute”).

        A hearing is necessary where, as here, the experts have offered directly contradictory

positions on virtually all aspects of a foreign country’s legal system and laws and thus further

presentation of the issues is required. Federal courts have exhibited “reluct[ance] to decide”

complex issues of law and fact “on the uncross-examined assertions” of “distinguished experts

marshalled by the various parties,” and have found that “a hearing on these issues is required” in

such circumstances. Belfrade v. Interenergo, Inc., 1998 WL 661481, at *10 (S.D.N.Y. Sept. 24,

1998) (Koeltl, J.) (quoting Federal Republic of Germany v. Elicofon, 358 F. Supp. 747, 752-53

(E.D.N.Y. 1970)) (denying summary judgment because hearing of expert testimony on foreign

law was needed). In other words, where courts are presented with “conflict[ing]” expert affidavits

on complex issues of foreign law, it is appropriate to hold a hearing to “determine [the foreign]

law to be applied.” Petroleo Brasileiro S.A.-Petrobras, 2001 WL 300735, at *22.

        The court’s decision in Galu v. Swissair: Swiss Air Transp. Co., is instructive. In that case,

after the parties submitted motions for summary judgment with accompanying expert affidavits

concerning the foreign law issues, Judge Patterson ordered “a more complete presentation [on

Swiss law] at a hearing” where the court heard “further elaborat[ion]” on the issues through live

testimony from the experts. 734 F. Supp. at 131-32. Similarly, in Castillo v. Cessna Aircraft Co.,

the court held that the parties “must participate” in a foreign law hearing after their experts

“reached different conclusions” on Guatemala’s Civil Code in connection with a summary

judgment motion. 2010 WL 11505745, at *2 (S.D. Fla. July 22, 2010); see also ChevronTexaco



                                                 -7-
       Case 1:15-cv-02739-LAP Document 440 Filed 04/14/23 Page 13 of 25




Corp., 499 F. Supp. 2d at 454, 464 (hearing ordered to determine Ecuadorian law that included

“voluminous expert testimony,” where parties disagreed, among other things, on application of

Ecuadorian constitution to legal claims).

       A hearing or trial on foreign law questions is even more warranted in this case given the

“substantial . . . weight” and “respectful consideration” owed to the Republic’s interpretation of

its own laws. Animal Science Products, Inc., 138 S. Ct. at 1869, 1875. And the Second Circuit

has held that a sovereign’s status as a party to a case does not “blunt this comity concern” with

respect to a sovereign’s view of its own laws. Karaha Bodas Co. v. Perusahaan Pertambangan

Minyak Dan Gas Bumi Negara (“Pertamina”), 313 F.3d 70, 92 (2d Cir. 2002); see also id. (“[T]he

support of a foreign sovereign for one interpretation furnishes legitimate assistance in the

resolution of interpretive dilemmas.”). Plaintiffs’ experts interpreted complex and fundamental

questions in ways that directly contradicted the Republic’s understanding of its own private and

public laws, including its Constitution, in a case that the Republic believes should be heard and

decided in its courts. The Republic submits that it is “appropriate for the court to demand a more

‘complete presentation by counsel’ on the issue” of the determination of foreign law before

deciding such weighty issues in an unprecedented manner against a sovereign. Twohy, 758 F.2d

at 1193 (citing Advisory Committee Note to Rule 44.1); see also United States v. McNab, 331

F.3d 1228, 1234 (11th Cir. 2003), as amended (May 29, 2003) (district court conducted a “hearing

on foreign law” at which it heard from foreign government’s experts and a high-ranking official).

       While the Court had access to deposition testimony at the summary judgment stage, “the

preference for live testimony is well established in this Circuit.” Aristocrat Leisure Ltd. v.

Deutsche Bank Tr. Co. Americas, 262 F.R.D. 293, 300 (S.D.N.Y. 2009) (Leisure, J.). Given the

advantages of live testimony, “dictated by both common sense and Second Circuit case law,”



                                               -8-
        Case 1:15-cv-02739-LAP Document 440 Filed 04/14/23 Page 14 of 25




“[t]he deposition has always been, and still is, treated as a substitute, a second-best, not to be used

when the original is at hand.” Buchwald v. Renco Grp., Inc., 2014 WL 4207113, at *2 (S.D.N.Y.

Aug. 25, 2014) (Nathan, J.) (quoting Napier v. Bossard, 102 F.2d 467, 469 (2d Cir. 1939) (Hand,

J.)).

        Finally, the upcoming trial on damages questions under Argentine law is the right

opportunity to consider additional evidence on issues of foreign law. In light of the Court’s

decision, there remain complex questions to be decided at trial, including: (i) “the precise date on

which the Republic occupied 51% of YPF’s shares or precisely what ‘occupation’ of the shares

entailed and whether such ‘occupation’ is equivalent to ‘control’ of those shares”; and (ii) “the

precise [prejudgment interest] rate” that will apply in this case. (Order at 58, 63.) Resolution of

these questions will require not only the presentation of documentary evidence and fact witness

testimony, but also testimony from the parties’ Argentine law experts. For example, in their

summary judgment briefing Plaintiffs (through three experts, Profs. Alfredo Rovira, Alejandro

Garro, and Alberto Bianchi) contended that the Republic controlled 51% of YPF’s shares on April

16, 2012, the date that the Republic issued the Intervention Decree. By contrast, the Republic

(through Prof. Rafael Manóvil, Judge Alejandro Uslenghi, and Prof. Alfonso Santiago) argued that

the Intervention Decree did not confer any rights over shares in YPF. All of these experts also

offered deposition testimony and expert reports on the remaining Argentine law issues in this case,

including the applicable interest rate, infra pp. 18-20. As the Argentine law experts will be before

the Court in determining damages, the Court should hear from them on liability before entering

what may become the largest judgment ever entered in the history of the Mother Court.




                                                 -9-
        Case 1:15-cv-02739-LAP Document 440 Filed 04/14/23 Page 15 of 25




             B.      Hearing from the Argentine Law Experts at Trial Is Required Because
                     the Parties’ Experts Have Diametrically Opposed Views on Fundamental
                     Questions of Argentine Law.

       Reconsideration of the Court’s summary judgment decision to allow the Court to hear live

testimony of the parties’ foreign law experts on all issues of Argentine law is required here, where

the foreign law experts have presented not just conflicting but polar opposite views on fundamental

questions of Argentine law. For example, the parties’ foreign law experts disagree on each of the

following five dispositive issues of Argentine law:

       1.      Whether a shareholder can bring a breach of contract action against another

shareholder for breach of a corporate bylaws provision at all. Plaintiffs mischaracterized their

suit as being “as straightforward a breach-of-contract case as they come.” (Pls. Opening Br. at

38.) 3 But the parties’ Argentine law experts disagreed as to whether Plaintiffs’ claim—a breach

of contract action by one shareholder against another for an alleged violation of corporate

bylaws—even exists under Argentine law. Plaintiffs’ experts asserted that such a claim can

proceed under “general civil liability principles” in the Argentine Civil Code. (Rovira Rebuttal ¶¶

47-48.) But Plaintiffs could not identify a single case like this one—a breach of contract claim by

one shareholder against another for an alleged breach of corporate bylaws. (See Giuffra Ex. 97

(Garro Deposition Tr.) at 150:1-12; Manóvil Reply ¶ 99 (“Neither Prof. Rovira nor Prof. Garro is

able to provide a cite to a single case or other authority to support the proposition that shareholders

may bring a breach of contract action seeking damages against another shareholder or the company

for alleged violations of corporate bylaws.”).)




3
        All references to “Arg. Br.,” “Pls. Br.,” “Giuffra Ex.,” and “Appendix” are to the briefs,
exhibits and appendices to the Republic’s and Plaintiffs’ motions for summary judgment.

                                                  -10-
        Case 1:15-cv-02739-LAP Document 440 Filed 04/14/23 Page 16 of 25




       The Republic’s expert Prof. Manóvil—one of the most “highly reputable scholar[s] in areas

of corporate law” (Giuffra Ex. 97 (Garro Deposition Tr.) at 65:13-18)—provided a simple

explanation for this absence of authority: corporate bylaws “do not create obligations between

shareholders,” and thus shareholders “lack standing under Argentine law to bring their [breach of

contract] claims directly against . . . a co-shareholder.”     (Manóvil Opening ¶ 77 & n.104

(discussing Gatti v. Bulad, CNCom, Division A, Oct. 22, 1999, El Derecho, Vol. 188, at 698,

which held that “both the rights and the obligations of the shareholders hinge on their relations

with the legal subject known as the corporation, and not with each of the other shareholders

individually considered”); see also Manóvil Reply ¶¶ 8, 10-11.) The same is true under U.S. law.

See Quantum Tech. Partners II, L.P. v. Altman Browning & Co., 2009 WL 4826474, at *6 (D. Or.

Dec. 8, 2009) (holding that under Delaware law, there is no “cause of action for damages for breach

of contract between shareholders for violations of a corporation’s bylaws”), aff’d, 436 F. App’x

792 (9th Cir. 2011). Under Argentine law, a shareholder wishing to enforce a bylaw’s provision

must follow the “particular set of remedies” authorized by Argentine corporate law. (Manóvil

Opening ¶¶ 66, 79.)

       2.      Which body of Argentine law (the General Corporations Law or the Civil Code)

would govern Plaintiffs’ claim for an alleged violation of corporate bylaws. Plaintiffs’ experts

recognized that Argentina’s General Corporations Law (the “GCL”) preempts and displaces the

Civil Code, and that the Civil Code applies only in those cases “not specifically contemplated” by

the GCL. (Rovira Rebuttal ¶ 30; Garro Rebuttal ¶¶ 24-25.) Nevertheless, according to Plaintiffs’

experts, because the GCL does not contain a “specific civil liability provision” or a provision “that

addresses tender offers,” the GCL does not displace the Civil Code as to Plaintiffs’ claims. (Rovira

Rebuttal ¶ 34; Garro Rebuttal ¶ 26.)



                                                -11-
        Case 1:15-cv-02739-LAP Document 440 Filed 04/14/23 Page 17 of 25




       The Republic’s expert opined that the GCL does displace the Civil Code because it

provides a comprehensive scheme for shareholders to remedy alleged violations of corporate

bylaws. (See Manóvil Reply ¶ 57.) As Prof. Manóvil explained, under the GCL, shareholders

may move for a resolution to enforce corporate bylaws or any penalties set out in the bylaws,

challenge in court any resolution made in violation of corporate bylaws and, if successful, the

challenging shareholder may bring a claim for damages against the shareholders who voted in

favor of the challenged resolution. (Manóvil Opening ¶¶ 79-84; Manóvil Reply ¶¶ 62-67.)

Therefore, under the GCL, shareholders have access to various and significant remedies to enforce

bylaws and redress any alleged violation thereof.

       3.      Whether the existence of a specific, non-damages penalty for breach of the

bylaws precludes damages claims. Under Article 655 of the Argentine Civil Code, where parties

to a contract set out the penalties in the event of a breach, those penalties are exclusive. (See

Manóvil Opening ¶¶ 109-119 and n.134.) But Plaintiffs’ experts asserted that Bylaws Sections

7(h) and 28(C) (which refers specifically to the “penalties” provided for in section 7(h) and makes

those applicable to the Republic) are not penalty clauses under Argentine law because they “do[]

not set forth a pre-quantified amount of money to be owed to minority shareholders if the tender-

offer obligation is breached” or “state that in case of breach of the tender-offer obligation, a

damages remedy available under the Civil Code would not be available.” (Rovira Rebuttal ¶ 70;

see also Garro Rebuttal ¶ 49.) Plaintiffs’ experts’ position conflicts with the plain terms of Article

653 of the Civil Code, which provides that “[t]he penalty clause may only have as its object the

payment of a sum of money, or any other performance that may be the object of the obligations.”

(See Appendix at A-6; Manóvil Opening ¶ 109 n.133 (emphasis added); see also Manóvil Reply ¶

79.) Professor Manóvil further explained that the “performance” penalty can constitute any type



                                                -12-
        Case 1:15-cv-02739-LAP Document 440 Filed 04/14/23 Page 18 of 25




of performance, including the “definitive or temporary loss of goods, rights, qualities or benefits,

or their non-acquisition.” (Manóvil Opening ¶ 112 (quoting SÁNCHEZ HERRERO, A., La

cláusula penal [The Penalty Clause], p. 83); see also id. ¶ 109 n.133; Manóvil Reply ¶ 74 n.138.)4

        4.      Whether Argentina’s civil law system requires a party to request specific

performance before requesting damages in a breach of contract action. Unlike in the United

States, it is axiomatic that in civil law jurisdictions such as Argentina, there is a preference for in-

kind remedies over money damages in a breach of contract action. (See Manóvil Opening ¶¶ 96,

98; Kemelmajer Rebuttal ¶ 123; see also Giuffra Ex. 97 (Garro Deposition Tr.) at 226:7-11 (“There

is a preference in the civil law for a specific performance, nobody will doubt that.”).) Plaintiffs’

experts argued, however, that a plaintiff in a breach of contract action may freely choose to pursue

either specific performance or damages. (Garro Rebuttal ¶¶ 39-46; Rovira Rebuttal ¶¶ 37-46.)

        By contrast, Defendants’ experts established that “[a]ccording to the majority of opinions

expressed in Argentine case law and legal authorities . . . in the event of a breach of contract the

obligee should, as a rule, first claim for specific performance of the relevant obligation if

performance is materially and legally feasible.” (Kemelmajer Rebuttal ¶ 125.) Professor Manóvil

similarly explained that a “claim for damages is ‘a subsidiary and last solution and it should only

be resorted to when it is absolutely impossible to obtain the effective fulfillment of the very object

of the obligation.’”    (Manóvil Opening ¶ 99 (quoting CIFUENTES, Santos, Código Civil

Comentado y Anotado [Civil Code with Annotation and Comments], La Ley, Buenos Aires, 2003,

Vol. I, p. 368) (emphasis added).)



4
        In its summary judgment decision, the Court concluded that “to be a valid penalty clause,”
Article 653 required that a clause provide for either “the payment of a sum of money,” directly
from the allegedly breaching party, or “substitute performance of the obligation at issue.” (Order
at 42-43 (emphasis added).) Neither side’s experts advocated for this interpretation.

                                                 -13-
       Case 1:15-cv-02739-LAP Document 440 Filed 04/14/23 Page 19 of 25




       5.      Whether the Constitutional and statutory expropriation law of the Argentine

Republic forecloses Plaintiffs’ claims. The Republic’s Constitution provides that “Expropriation

for reasons of public interest must be authorized by law and compensated in advance.” (Appendix

at A-5 (Argentine Constitution) Art. 17.) Argentina’s General Expropriation Law implements that

directive by providing that “No action by third parties may impede the expropriation or its effects.

The rights of the claimant shall be considered transferred from the thing to its price or to the

compensation, leaving the thing free of any encumbrance.”            (Appendix at A-2 (General

Expropriation Law) Art. 28.) Plaintiffs’ expert opined that the alleged obligation to conduct a

tender offer under the Bylaws does not constitute an “encumbrance” because it is “not a right

emanating from the expropriated shares, but from the non-expropriated shares,” and because the

expropriation does not “allow[] the expropriating State to disassociate itself from fulfilling

obligations validly assumed towards third parties, prior to the expropriation.” (Bianchi Rebuttal

¶ 19.) Plaintiffs’ expert also claimed that Plaintiffs’ claims do not fall into the exclusive

compensation scheme for third parties allegedly harmed by an expropriation provided by Article

28, because “Plaintiffs have no claim to the expropriated shares.” (Bianchi Rebuttal ¶ 92.)

       Taking exactly the opposite view, Judge Alejandro Uslenghi, a leading authority on

Argentine public law and former Judge of Argentina’s Federal Court of Appeals, relied on

Argentine Supreme Court precedent to opine that the preemptive effect of laws relating to

expropriation sweeps much more broadly: “any kind of contractual restriction” on the exercise of

the state’s sovereign expropriation power is impermissible. (Uslenghi Opening ¶ 31 (quoting

Sociedad de Electricidad de Rosario, Judgment of April 14, 1975 (Fallos: 291:290)); see also




                                               -14-
        Case 1:15-cv-02739-LAP Document 440 Filed 04/14/23 Page 20 of 25




Santiago Rebuttal ¶ 16.) 5 Judge Uslenghi further explained that the exclusive compensation

scheme under Article 28 applies to “rights of any nature” held by a third party. (Uslenghi Reply

¶ 21; see also Santiago Rebuttal ¶ 47.) It is, therefore, irrelevant that Plaintiffs “have no claim to

the expropriated shares”—what matters is that Plaintiffs allege that their rights were impacted by

the expropriation of an asset from someone else. (See Uslenghi Opening ¶¶ 116-17.)

                                          *       *       *

        As the examples above illustrate, the Argentine law experts have offered directly

contradictory views on virtually all questions of Argentine law in this case. These are not narrow

disagreements or simple questions, and the Republic respectfully submits that the Court erred in

concluding that the Republic is incorrect on all these questions of its own laws. Hearing from the

parties’ foreign law experts—subject to cross-examination and questioning by the Court—can only

benefit the Court in resolving this case. The Republic therefore requests that the Court reconsider

its decision to decide all contested questions of Argentine law without having live expert testimony

on these questions at trial.

II.     AT A MINIMUM, THE COURT SHOULD RECONSIDER ITS ORDER WITH
        RESPECT TO TWO DETERMINATIONS CONCERNING THE CALCULATION
        OF DAMAGES.

              A.      The Republic Did Not “Admit” that the Occupation Took Place Prior to
                      the Effective Date of the YPF Expropriation Law.

        In its summary judgment decision, the Court held that the “tender offer price” relevant for

the assessment of damages “must be calculated by determining the date on which the Republic



5
        The Sociedad de Electricidad de Rosario case is particularly relevant. In that case, the
Argentine Supreme Court held that “[t]o admit any kind of contractual restriction [on the exercise
of the State’s expropriation power] would imply subjecting the question of expropriation to private
interest, resulting in the obvious unconstitutionality of the agreement.” (Uslenghi Opening ¶ 31.)
Placing such “conditions on the State in the exercise of its inalienable powers” was impermissible
and unconstitutional. (Comadira Opening ¶ 53.)

                                                -15-
        Case 1:15-cv-02739-LAP Document 440 Filed 04/14/23 Page 21 of 25




should have provided notice” of its intent to acquire “a sufficient number of shares to trigger

Section 7.” (Order at 54-56.) That “notice date,” according to the Court, depends on “the precise

date” of the Republic’s “acquisition of control of the requisite number of shares.” (Id. at 56-57.)

According to Plaintiffs, the precise notice date could make billions of dollars of difference in the

damages assessment. (Burford Press Release, supra, at 3-4.) The Court, however, also held that

the Republic “cannot now take the position that occupation of the shares” did not occur until

passage of the YPF Expropriation Law, because the Republic supposedly “admitted” in Paragraph

36 of its Answer that it “temporarily occupied” the shares prior to that. (Order at 45.) Because

this ruling misunderstood the Republic’s Answer, the Court should reconsider its summary

judgment decision to “correct a clear error or prevent manifest injustice.” Kolel Beth Yechiel

Mechil of Tartikov, Inc., 729 F.3d at 104 (citation omitted).

       Paragraph 36 of the Republic’s Answer states:

               Argentina lacks knowledge or information sufficient to form a belief
               as to the truth or falsity of the allegations in Paragraph 36 and
               otherwise denies the allegations in Paragraph 36, except Argentina
               admits that Julio De Vido exercised powers conferred upon him as
               Intervenor, and Argentina then temporarily occupied 51% of YPF’s
               Class D shares pending implementation of legislation declaring
               these shares to be of public utility and subject to expropriation.
               Argentina further respectfully refers the Court to Law 26,741.

(Petersen ECF No. 98, ¶ 36; Eton Park ECF No. 117, ¶ 36.)

       With respect to when the Republic temporarily occupied the YPF shares, Paragraph 36 of

the Republic’s Answer “admits” only that the Republic temporarily occupied Repsol’s YPF shares

sometime after “Law 26,741” (the YPF Expropriation Law that “declare[d] these shares to be of

public utility and subject to expropriation”) became effective on May 7, 2012 and “pending [its]


                                                -16-
       Case 1:15-cv-02739-LAP Document 440 Filed 04/14/23 Page 22 of 25




implementation.” The YPF Expropriation Law was “implemented” when the expropriation

process was completed, and the Republic acquired the expropriated shares in 2014. (Arg. Opening

Br. at 19-21.) The Republic did not “admit” that it occupied the shares before the effective date

of the YPF Expropriation Law (“Law 26,741”), nor could it have. As the Republic stated in its

fourth affirmative defense, “Law 26,741 authorized the commencement of the expropriation

process and permitted the Argentine Government to temporarily occupy Repsol’s shares of YPF.”

(Petersen ECF No. 98, at 22; Eton Park ECF No. 117, at 17.) Article 13 of that law allowed the

Republic to temporarily occupy the shares after its effective date. (Giuffra Ex. 72, Art. 13.)

Plaintiffs themselves conceded that it was the passage of the YPF Expropriation Law that

“order[ed] . . . the formal occupation of [Repsol’s YPF] shares.” (Pls. Opp. Br. at n.13; see also

Argentina’s SOF ¶ 71; Pls. Response to Argentina’s SOF ¶ 71.)6 Any occupation, therefore, could

only have occurred sometime after the YPF Expropriation Law took effect on May 7, 2012 and

while it was being implemented.

       To the extent there is any ambiguity as to what the Republic intended in Paragraph 36, the

statement cannot qualify as a binding admission. “[J]udicial admissions must be clear and

unambiguous admission[s] of fact.” H. Daya Int’l, Co. v. Do Denim LLC, 2022 WL 974382, at

*11 (S.D.N.Y. Mar. 31, 2022) (citation omitted). Here, the Republic’s Answer does not contain a

clear and unambiguous admission of fact, and certainly no admission of an incorrect statement that

cannot be reconciled with the undisputed record. See In re Motors Liquidation Company, 957 F.3d

at 360-61 (factually incorrect statement in defendant’s Answer and Notice of Removal “was not




6
       See also Uslenghi Opening ¶ 55; Manóvil Opening ¶¶ 34-35, 62; Giuffra Ex. 11 (Bianchi
Deposition Tr.) 146:7-21.

                                              -17-
       Case 1:15-cv-02739-LAP Document 440 Filed 04/14/23 Page 23 of 25




an intentional, clear, and unambiguous statement of fact” and “did not constitute a judicial

admission”).

               B.    The Court’s Determination that the “Commercial Rate” Applies to
                     Prejudgment Interest Misconstrues Argentine Court Jurisdiction.

       The Court also erred in adopting Plaintiffs’ argument that it should apply a prejudgment

interest rate used by Argentina’s commercial courts, while reserving judgment on the precise rate

to be applied. (Order at 62-63.) The Court made this determination based on its conclusion that

“this case involves purely commercial obligations.” Id. at 63. However, this holding disregards

that in Argentina, only Argentine federal courts on administrative affairs—not commercial

courts—hear disputes such as this in which the Republic is a party and that involve questions of

public law. (See Santiago Rebuttal ¶¶ 66-67; Uslenghi Rebuttal ¶¶ 58-60; Manóvil Rebuttal ¶

162.) This rule is similar in some respects to the rule in the American legal system that federal

courts enjoy jurisdiction over disputes in which the federal government is a party or that concern

questions of federal law. See U.S. Const. art. III, sec. 2; 28 U.S.C. § 1331. And the Argentine

federal courts that would hear this case typically apply prejudgment interest at the average

borrowing rate published by the Central Bank of the Argentine Republic, following the case law

of the Argentine Supreme Court. (See Santiago Rebuttal ¶¶ 68-72; Manóvil Rebuttal ¶¶ 163-65.)

       It is not surprising that Argentine law would demand a lower interest rate for judgments

secured against the Republic than against a private company. Indeed, neither pre- nor post-

judgment interest is categorically recoverable against the United States except where the liability

is imposed by statute or explicitly assumed by contract. See 28 U.S.C. § 2516(a) (“Interest on a

claim against the United States shall be allowed in a judgment of the United States Court of Federal

Claims only under a contract or Act of Congress expressly providing for payment thereof.”). And

the U.S. “Supreme Court also has articulated a general ‘no-interest rule’” with regard to claims


                                               -18-
       Case 1:15-cv-02739-LAP Document 440 Filed 04/14/23 Page 24 of 25




against the federal government. City of Wilmington v. United States, 157 Fed. Cl. 705, 738 (2022)

(quoting Library of Congress v. Shaw, 478 U.S. 310, 314 (1986)).

       Were there any doubt that this case would be adjudicated in an Argentine federal court on

administrative affairs, the Argentine Supreme Court has already found as much in another case

involving a YPF shareholder. In the De San Martín case, the Argentine Supreme Court considered

a suit by two minority shareholders of YPF brought against the Republic in connection with the

expropriation of YPF seeking specific performance of the tender offer obligation under the YPF

Bylaws.   (Uslenghi Rebuttal ¶ 59; Santiago Rebuttal ¶ 67; Manóvil Rebuttal ¶ 162 n.257

(discussing Supreme Court of the Argentine Republic, Aug. 20, 2014, De San Martín, José and

other v. Estado Nacional-PEN S/Proceso de Conocimiento, S.C. Comp. 731 L. XLIX).) The

Supreme Court determined that the Argentine federal administrative courts, not the commercial

courts, had jurisdiction over the case because the Republic was a defendant and the case involved

fundamental questions of public law. (Uslenghi Rebuttal ¶ 59; Santiago Rebuttal ¶ 67; Manóvil

Rebuttal ¶ 162 n.257.) Because a federal court is bound by the “relevant state law . . . established

by a decision of the State’s highest Court,” Animal Science Products, Inc., 138 S. Ct. at 1874, so

too is a federal court bound by a decision established by a foreign sovereign’s highest court in

applying that law. Id.; Sarl Louis Feraud Int’l v. Viewfinder, Inc., 489 F.3d 474, 479 (2d Cir.

2007) (“[W]e cannot second-guess the French court’s finding”).

       This Court should follow the Argentine Supreme Court’s decision on a question of

Argentine law and assume that the case would be before an Argentine federal court on

administrative affairs, therefore demanding application of the relevant average interest rate

published by the Argentine Central Bank to any damages award. See Schwartz v. Liberty Mut.

Ins. Co., 539 F.3d 135, 147 (2d Cir. 2008) (“Under New York choice of law principles, the



                                               -19-
        Case 1:15-cv-02739-LAP Document 440 Filed 04/14/23 Page 25 of 25




allowance of prejudgment interest is controlled by the law of the state whose law determined

liability on the main claim.”) (citation omitted).7

                                          CONCLUSION

       For the foregoing reasons, the Court should reconsider its decision to grant Plaintiffs’

motion for summary judgment pending hearing live testimony on the foundational and disputed

issues of Argentine law on which its decision was based, and, at a minimum, reconsider its

determination that Defendants “admitted” a certain notice-date range and that the interest rate

applied by Argentine commercial courts applies to this case.

Dated: April, 14, 2023
       New York, New York


                                               Respectfully Submitted,


                                               /s/ Robert J. Giuffra, Jr.
                                               Robert J. Giuffra, Jr.
                                               Sergio J. Galvis
                                               Amanda F. Davidoff
                                               Jeffrey B. Wall
                                               Thomas C. White
                                               Adam R. Brebner

                                               SULLIVAN & CROMWELL LLP
                                               125 Broad Street
                                               New York, New York 10004-2498
                                               Telephone: (212) 558-4000
                                               Facsimile:    (212) 558-3588

                                               Counsel for the Argentine Republic

7
        The Court “reserve[d] judgment” on the “precise rate it will utilize,” but even assuming the
rate applied by an Argentine commercial court is applicable here, Plaintiffs were wrong to suggest
in their summary judgment briefing that “Argentine courts” apply an interest rate “between 6%
and 8%” in commercial matters. (Order at 62-63 (quoting Pls. Reply Br. at 73).) As the Republic’s
expert explained, “Chamber C of the National Court of Appeals on Commercial Matters has
consistently applied the passive interest rate used by the Banco de la Nación Argentina [Bank of
the Argentine Nation] . . . plus an additional 2%,” while the “Federal Court of Appeals in Civil
and Commercial Matters has mostly applied an annual rate between 4% and 6%.” (Manóvil
Rebuttal ¶ 166.)

                                                 -20-
